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    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                 Office of the Clerk
        United States Courthouse
                                                                                Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                                www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                          NOTICE OF ISSUANCE OF MANDATE
March 22, 2022


To: Thomas G. Bruton
    UNITED STATES DISTRICT COURT
    Northern District of Illinois
    Chicago, IL 60604-0000
                                     CITY OF CHICAGO,
                                              Plaintiff - Appellee

Nos. 21-1604, 21-1632,
                                     v.
21-1700, 21-1701
                                     MERRICK B. GARLAND, Attorney General of the United States,
                                              Defendant - Appellant
Originating Case Information:
District Court Nos: 1:18-cv-06859 & : 1:17-cv-05720
Northern District of Illinois, Eastern Division
District Judge Harry D. Leinenweber
Originating Case Information:
District Court No: 1:17-cv-05720
Northern District of Illinois, Eastern Division


Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
certified copy of the opinion/order of the court and judgment, if any, and any direction as to
costs shall constitute the mandate.

TYPE OF DISMISSAL:                                                   F.R.A.P. 42(b)

STATUS OF THE RECORD:                                                no record to be returned



form name: c7_Mandate       (form ID: 135)
